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 6   Attorneys for Sohail Amin
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 8
                              UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10                                SACRAMENTO DIVISION

11
12                                           )   No. 2:10-CR-00364-MCE
13   UNITED STATES OF AMERICA,               )
                                             )   STIPULATION AND ORDER
14                               Plaintiff,  )   RESETTING STATUS CONFERENCE
                                             )   AND EXCLUDING TIME UNDER THE
15   v.                                      )   SPEEDY TRIAL ACT
16                                           )
     SOHAIL AMIN and                         )
17   SAKANDER AMIN,                          )   Date: October 13, 2011
                                             )   Time: 9:00 a.m.
18
                                 Defendants. )   Courtroom 7
19                                           )   Hon. Morrison C. England

20
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Status
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     Conference currently set for September 1, 2011, at 9:00 a.m., be continued to October
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     13, 2011, at 9:00 a.m., in the same courtroom, and that the time beginning September
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     1, 2011 and extending through October 13, 2011, should be excluded from the
24
     calculation of time under the Speedy Trial Act. The parties submit that the interests of
25
     justice are served by the exclusion of time, which will give counsel for each defendant
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     reasonable time necessary for effective preparation, taking into account the exercise of
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28
     STIPULATION AND ORDER
     United States v. Sohail Amin and Sakander Amin, No. 2:10-CR-00364-MCE                 1
              Case 2:10-cr-00364-MCE Document 65 Filed 09/02/11 Page 2 of 3




 1   due diligence. 18 USC 3161(h)(7)(a) and (b)(iv) and Local T4. Michael M. Beckwith,
 2   Assistant U.S. Attorney, Thomas A. Johnson, Attorney for Defendant Sakander Amin,
 3   and Cristina C. Arguedas, Attorney for Defendant Sohail Amin, all agree to this
 4   continuance.
 5          Both defendants have recently received approximately 1,000 pages of discovery
 6   from the government, with additional discovery still forthcoming. As such, the attorneys
 7   for each defendant need more time to prepare, which will include reviewing discovery,
 8   discussing that discovery with their respective clients, considering new evidence that
 9   may affect the disposition of their respective cases, conducting necessary legal
10   research and investigation, and then discussing with their clients how to proceed. The
11   parties stipulate and agree that the interests of justice served by granting this
12   continuance outweigh the best interests of the public and the defendants in a speedy
13   trial. See 18 USC 3161(h)(7)(a) and (b)(iv) and Local T4 (reasonable time for
14   preparation of counsel).
15
     IT IS SO STIPULATED.
16
17   DATED: August 30, 2011             By: /s/ Thomas A. Johnson_ ____
                                        THOMAS A. JOHNSON
18                                      Attorney for Defendant
                                        SAKANDER AMIN
19
20   DATED: August 30, 2011             By: /s/ Cristina C. Arguedas_ ____
                                        CRISTINA C. ARGUEDAS
21                                      Attorney for Defendant
22                                      SOHAIL AMIN

23   DATED: August 30, 2011             BENJAMIN WAGNER
                                        United States Attorney
24
25                                      By: /s/ Michael M. Beckwith_
                                        MICHAEL M. BECKWITH Assistant U.S. Attorney
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     STIPULATION AND ORDER
     United States v. Sohail Amin and Sakander Amin, No. 2:10-CR-00364-MCE                2
                             Case 2:10-cr-00364-MCE Document 65 Filed 09/02/11 Page 3 of 3




 1                                                           ORDER
 2                          For the reasons stated above, the status conference in this matter, currently
 3   September 1, 2011, is continued to October 12, 2011 at 9:00 a.m.; and the time
 4   beginning, September 1, 2011, and extending through October 12, 2011, is excluded
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     from the calculation of time under the Speedy Trial Act for effective defense
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     preparation and plea negotiations. The Court finds that interests of justice served by
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     granting this continuance outweigh the best interests of the public and the defendants
 8
     in a speedy trial. 18 U.S.C.§ 3161 (h)(7)(a) and (b)(iv).
 9
          IT IS SO ORDERED.
10   September 1, 2011
11
                                                           __________________________________
12                                                         MORRISON C. ENGLAND, JR
                                                           UNITED STATES DISTRICT JUDGE
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     DEAC_Signatu re-END:




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     STIPULATION AND ORDER
     United States v. Sohail Amin and Sakander Amin, No. 2:10-CR-00364-MCE                                  3
